             Case 19-04944-CL7                    Filed 08/20/19              Entered 08/20/19 13:50:49                    Doc 1         Pg. 1 of 70

Fill in this information to identify your case:

 United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                          Chapter you are filing under

                                                                                • Chapter 7
                                                                                D Chapter 11
                                                                                D Chapter 12
                                                                                D Chapter 13                                     D Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


          Identify Yourself

                                   About Debtor 1:                                                 , jKlbout' Debtor Z'fsp'ouse Only in a'JofntCase):
1.   Your full name
     Write the name that is on                                                                    -
                                   Karla                                                              < Jose
     your government-issued        First name                                                         , First name
     picture identification (for
     example, your driver's        L.
     license or passport).         Middle name                                                        • Middle name
     Bring your picture            Galvan                                                              Galvan
     identification to your
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, 111)                            Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7154                                                        , xxx-xx-0323
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                pagel
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Debtor 1   Karla L. Galvan
Debtor 2   Jose M. Galvan                                                                                          Case number fitknown)




                                 About Debtor 1;                                                            AbJputDebtofjJ! js'pous"^Ojnly in a-Joint Case)J

4.   Any business names and
     Employer Identification
     Numbers (BIN) you have          I have not used any business name or EINs.                               I I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                                       , Business name(s)
     doing business as names

                                 EINs                                                                       EINs

                                                                                               „--:,•••
                                                                                               x>* "<'**
5.   Where you live                                                                            "•JS; If Debtor 2 lives at a different address:
                                                                                               p V.'i
                                                                                               nSBtjij
                                 1651 South Juniper Street
                                 Unit 171                                                      ;::1K|    1497 Jefferson Avenue
                                 Escondido, CA 92025                                           ;^S Escondido, CA 92027
                                 Number, Street, City, State & ZIP Code                        ,:,~..!ji Number, Street, City, State & ZIP Code
                                                                                                vS«
                                 San Diego                                                     ":™;«i San Diego
                                 County
                                                                                               ;^jj   county
                                                                                               :,-:!>4i
                                 If your mailing address is different from the one             J'ipy If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     %?.•*« in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       ;*f«fj mailing address.
                                                                                               •h-^M
                                                                                               "&Kt
                                                                                               -8* W

                                 Number, P.O. Box, Street, City, State & ZIP Code              yff a Number, P.O. Box, Street, City, State & ZIP Code
                                                                                               ;T';'V   ?



6.   Why you are choosing        Check one:                                                     -.-«;! Check one:
     this district to file for                                                                 ^:*,;i!
                                                                                               ,,;;;S|

     bankruptcy                  •      Over tne  |ast1 80 days before filing this petition,    j :•;, j •          Over the last 1 80 days before filing this petition, I
                                        I have lived in this district longer than in any       -;Jfv.'v             have lived in this district longer than in any other
                                        other district.                                        i;<|!j)              district.
                                                                                               vW^Sjfc*
                                 D      I have another reason.                                 JfijJS D             I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                       iil'^j]              Explain. (See 28 U.S.C. § 1408.)
                                                                                               ,"~i1W
                                                                                               :-lSS


                                                                                               :•:;"& i
                                                                                               ;?.':£;•




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 2
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Debtor 1    Karla L. Galvan
Debtor2     Jose M. Galvan                                                                               Case number (ifknown)



           Tell the Court About Your Bankruptcy Case
7.    The chapter of the         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. §342(b) for Individuals Filing for Bankruptcy
      Bankruptcy Code you are    (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file under     _
                                 • Chapter?
                                 D Chapter 11
                                 D Chapter 12
                                 D Chapter 13



8.    How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                 D      I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for
      bankruptcy within the
      last 8 years?              D Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy           • No
    cases pending or being
    filed by a spouse who is     DYes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                 When                            Case number, if known



11.   Do you rent your           DNo.         Go to line 12.
      residence?
                                 • Yes.       Has your landlord obtained an eviction judgment against you?

                                              •         No. Go to line 12.
                                              D         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101 A) and file it with this
                                                        bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    pages
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Debtor 1   Karla L. Galvan
Debtor 2   Jose M. Galvan                                                                                 Case number (itknown)



           Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time     D No.        Go to Part 4.
    business?
                                    I Yes.     Name and location of business

    A sole proprietorship is a
    business you operate as                    GTavtm Hardwood Flooring, Inc.
    an individual, and is not a                Name of business, if any
    separate legal entity such
    as a corporation,
    partnership, or LLC.
                                               1497 Jefferson Avenue
    If you have more than one                  Escondido, CA 92027
    sole proprietorship, use a
                                               Number, Street, City, State & ZIP Code
    separate sheet and attach
    it to this petition.                       Check the appropriate box to describe your business:
                                               D      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               D       Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                               D       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               n       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               •       None of the above

13. Are you filing under      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the         deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business      in 11 U.S.C. 1116(1 )(B).
    debtor?
                              • No.           I am not filing under Chapter 11.
    For a definition of small
    business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    U.S.C. § 101(51D).        DNo.
                                              Code.

                                     Yes.      I am fi|in9 under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any        • No.
    property that poses or is
    alleged to pose a threat      DYes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

    For example, do you own
    perishable goods, or
    livestock that must be fed,              Where is the property?
    or a building that needs
    urgent repairs?
                                                                          Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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Debtor 1   Karla L. Galvan
Debtor 2   Jose M. Galvan                                                                                     Case number (ifknown)

           Explain Your Efforts to Receive a Briefing About Credit Counseling
                                    About Debtor 1:"                      , ' ' " " '                     About Debtor 2 (Spouse'Only in a Joint-Case}?
15. Tell the court whether          You must check one:                                                   You must check one:
    you have received a             B I received a briefing from an approved credit                       | I received a briefing from an approved credit
    briefing about credit               counseling agency within the 180 days before I                  i     counseling agency within the 180 days before I filed
    counseling.                         filed this bankruptcy petition, and I received a                      this bankruptcy petition, and I received a certificate of
                                        certificate of completion.                                      (     completion.
    The law requires that you
    receive a briefing about             Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment plan, if
    credit counseling before             plan, if any, that you developed with the agency.              1     any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check       Cl   I received a briefing from an approved credit                  ,D    I received a briefing from an approved credit
    one of the following                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I filed
    choices. If you cannot do            filed this bankruptcy petition, but I do not have                    this bankruptcy petition, but I do not have a certificate
    so, you are not eligible to          a certificate of completion.                                         of completion.
    file.
                                         Within 14 days after you file this bankruptcy                        Within 14 days after you file this bankruptcy petition, you
    If you file anyway, the court        petition, you MUST file a copy of the certificate and                MUST file a copy of the certificate and payment plan, if
    can dismiss your case, you           payment plan, if any.                                                any.
    will lose whatever filing fee
    you paid, and your                   I certify that I asked for credit counseling                         I certify that I asked for credit counseling services
    creditors can begin                  services from an approved agency, but was                            from an approved agency, but was unable to obtain
    collection activities again.         unable to obtain those services during the 7                         those services during the 7 days after I made my
                                         days after I made my request, and exigent                            request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                        temporary waiver of the requirement
                                         of the requirement.
                                                                                                              To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                          attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining                      to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why                    before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for                    circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                          .           Your case may be dismissed if the court is dissatisfied
                                                                                                              with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                           filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.               ;            If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must                receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.              file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                        copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you                    not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                              Any extension of the 30-day deadline is granted only for
                                         may be dismissed.                                       (
                                                                                                              cause and is limited to a maximum of 15 days.
                                                                                                  kt
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about            j           I am not required to receive a briefing about credit
                                         credit counseling because of:                                        counseling because of:
                                                                                                  '„!

                                         D        Incapacity.                                      ,1         D    Incapacity.
                                                 I have a mental illness or a mental deficiency   ,                I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or          '(               makes me incapable of realizing or making rational
                                                 making rational decisions about finances.        f                decisions about finances.

                                         D       Disability.                                     ,            D     Disability.
                                                 My physical disability causes me to be          '                 My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,                    participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I j                 through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                      i                 do so.

                                         D      Active duty.                                                  D     Active duty.
                                                I am currently on active military duty in a                         I am currently on active military duty in a military
                                                military combat zone.                                               combat zone.
                                         If you believe you are not required to receive a                     If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a        '           about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.                  of credit counseling with the court.




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                      page5
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Debtor 1    Karla L. Galvan
Debtor 2    Jose M. Galvan                                                                               Case number (itknown)

           Answer These Questions for Reporting Purposes
16. What kind of debts do       16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
    you have?                              individual primarily for a personal, family, or household purpose."
                                           D No. Go to line 16b.
                                           • Yes. Go to line 17.
                                16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.
                                           DNo. Gotoline16c.
                                           D Yes. Goto line 17.
                                16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under        D No.      I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

    Do you estimate that      pi Yes      ' am ^''n9 unc'er Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
    after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
    property is excluded and
    administrative expenses                D No
    are paid that funds will
    be available for                       • Yes
    distribution to unsecured
    creditors?

18. How many Creditors do       • 1-49                                          D 1,000-5,000                               D 25,001-50,000
    you estimate that you                                                       D 5001 -10,000                              D 50,001-100,000
                                D 50-99
                                D 100-199                                       D 10,001-25,000                             D More thanl 00,000
                                D 200-999

19. How much do you             D $0 - $50,000                                  D $1,000,001 -$10 million                   D $500,000,001 - $1 billion
    estimate your assets to     D $50,001 -$100,000                             D $10,000,001 -$50 million                  D $1,000,000,001 -$10 billion
    be worth?
                                • $100,001 -$500,000                            D $50,000,001 - $100 million                D $10,000,000,001 - $50 billion
                                D $500,001 - $1 million                         D $100,000,001 - $500 million               D More than $50 billion

20. How much do you             D   $0 - $50,000                                D $1,000,001 -$10 million                   D   $500,000,001 - $1 billion
    estimate your liabilities   D   $50,001 -$100,000                           D $10,000,001 -$50 million                  D   $1,000,000,001-$10 billion
    to be?
                                •   $100,001 -$500,000                          D $50,000,001 - $100 million                D   $10,000,000,001-$50 billion
                                D   $500,001 - $1 million                       D $100,000,001 -$500 million                D   More than $50 billion


           Sign Below

For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                If I have chosen to file under Chapter 7,1 am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                bankruptcy case can resultjnjiges up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                and 3571.
                                Isl Karla L. Galvan        / ^'UI/A.S ""-                 — Isl Jose M. Galvan,
                                Karla L. Galvan                                              Jose M. Galvan
                                Signature of Debtor T~                                       Signature of Debtoi

                                Executed on     August 20, 2019                                   Executed on     August 20, 2019
                                                MM/DD/YYYY                                                        MM/DD/YYYY




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                     page6
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Debtor 1   Karla L. Galvan
Debtor 2   Jose M. Galvan                                                                                 Case number (ifknown)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and hayjs-erXpIained the relief available under each chapter
                                for which the person is eligible.    Iso certify that I      :elivej&«rto the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b       D) applies,          ai>tTave no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petitio    incorrect..
to file this page.
                                Isl Shawn Huston                                                   Date         August 20, 2019
                                Signature of Attorney f                                                         MM / DD / YYYY

                                Shawn Huston
                                Printed name

                                Law Firm Of Howard Williams
                                Firm name

                                1650 Hotel Circle North, Suite #210
                                San Diego, CA 92108
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                Email address

                                235944 CA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
              Case 19-04944-CL7                      Filed 08/20/19       Entered 08/20/19 13:50:49                   Doc 1          Pg. 8 of 70
 Fill in this information to identify your case:

 Debtor 1                 Karla L. Galvan
                          First Name                        Middle Name
 Debtor 2                 Jose M. Galvan
 (Spouse If, filing)      First Name                        Middle Name          Last Name

 United States Bankruptcy Court for the:              SOUTHERNJ3ISTRICTJDF CALIFORNIA

 Case number
 (if known)                                                                                                                     D Check if this is an
                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules afteryou file
your original forms, you must fill out a new Summary and check the box at the top of this page.



                                                                                                                                     Yourassets      ;
                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B                                                                        $.           369,000.00

        1 b. Copy line 62, Total personal property, from Schedule A/B                                                                 $              59,722.18

        1 c. Copy line 63, Total of all property on Schedule A/B                                                                      $            428,722.18

              | Summarize Your Liabilities

                                                                                                                                     Your liabilities"        ;™
                                                                                                                                     Amount you owe
2.      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...         $.           321,319.00

3.      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.                               $.                    Q-0"

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.                            $             83,096.00


                                                                                                          Your total liabilities $             404,415.00


BBHB Summarize Your Income and Expenses

4.      Schedule I: Your Income (Official Form 106!)
        Copy your combined monthly income from line 12 of Schedule I.                                                                 *               /.4U/.44

5.      Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J.                                                                       *

               Answer These Questions for Administrative and Statistical Records

6.      Are you filing for bankruptcy under Chapters 7,11, or 13?
        D No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        • Yes
7.      What kind of debt do you have?

        B       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        CI  Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (o) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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Debtor 1      Karla L. Galvan
Debtor 2      Jose M. Galvan                                                                        Case number (if known)

8.     From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                             10,974.53


9.     Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


           EiJEaiLeiL^^                                               -. :...:.::.-.— •,. .'..•   ••-
      9a. Domestic support obligations (Copy line 6a.)                                                                             0.00

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                    0.00

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                          0.00

      9d. Student loans. (Copy line 6f.)                                                                                       8,325.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 6g.)                                                                                         0.00

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                                       0.00


      9g. Total. Add lines 9a through 9f.                                                                                    8,325.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                             page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestoase.com                                                                                Best Case Bankruptcy
            Case 19-04944-CL7                                 Filed 08/20/19                Entered 08/20/19 13:50:49                    Doc 1         Pg. 10 of 70
 Fill in this information to identify your case and this filing:

 Debtor 1                    Karla L. Galvan
                             First Name                                 Middle Name                     Last Name

 Debtor 2                    Jose M. Galvan
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name

 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF CALIFORNIA

 Case number                                                                                                                                                D     Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   Cl No. Go to Part 2.
   B Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1497 Jefferson Avenue                                                     | Single-family home                            ; Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                  r-i Duplex or multi-unit building                 the amount of any secured claims on Schedule D:
                                                                                                                                 '. Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                  D Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Escondido                         CA        92027-0000                    D Land                                          entire property?           portion you own?
        City                              State              ZIP Code             n Investment property                                  $369,000.00                 $369,000.00
                                                                                  n Timeshare                                     Describe the nature of your ownership interest
                                                                                  n Other                                         (such as fee simple, tenancy by the entireties, or
                                                                                Who has an Interest In the property? Check one    a life estate), if known.
                                                                                 n Debtor 1 only                                  Joint tenant
        San Diego                                                                 d Debtor 2 only
        County                                                                    • Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  d At least one of the debtors and another            (see Instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property Identification number:
                                                                                three bed one bath


2. Add the dollar value of the portion you own for all of your entries from Parti, including any entries for
   pages you have attached for Part 1. Write that number here                                                =•>                                                  $369,000.00


               Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
Software Copyright (o) 1996-2019 Best Case, LLC -www.bestcase.com                                                                                                    Best Case Bankruptcy
          Case 19-04944-CL7                       Filed 08/20/19                    Entered 08/20/19 13:50:49              Doc 1            Pg. 11 of 70
 Debtor 1         Karla L. Galvan
 Debtor 2         Jose M. Galvan                                                                              Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   DNo
   • Yes


  3.1    Make:       Jeep                                    Who has an interest in the property? check one         ; Do not deduct secured claims or exemptions. Put
                                                                                                                    • the amount of any secured claims on Schedule D:
         Model:      Wrangler                                 D Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Yean        2016                                     D Debtor 2 only
                                                                                                                     Current value of the      Current value of the
         Approximate mileage:                  53405          • Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              • Check if this Is community property                         $19,788.00                   $19,788.00
                                                                (see instructions)


  3.2    Make:       CMC                                     Who has an interest In the property? Check one         Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:     Sierra                                    D Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:      2015                                     • Debtor 2 only                                        Currentvalueofthe          Current value of the
         Approximate mileage:                 71 041         D Debtor 1 and Debtor 2 only                           entire property?           portion you own?
         Other information:                                  D At least one of the debtors and another

                                                              • Check if this is community property                         $20,061.00                  $20,061.00
                                                                   (see instructions}



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal Watercraft, fishing vessels, snowmobiles, motorcycle accessories

   DNo
   • Yes

  4.1    Make:      Yamaha                                   Who has an Interest in the property? Check one
                                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                                                                   : the amount of any secured claims on Schedule D:
        Model:      Banshee                                  • Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
        Yean        2005                                     D Debtor 2 only                                        Current value of the       Current value of the
                                                             D Debtor 1 and Debtor 2 only                           entire property?           portion you own?
         Other information:                                  D At least one of the debtors and another
                                                             • Check if this is community property                          $2,000.00                     $2,000.00
        ATV                                                        (see instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here                                                =>                                      $41,849.00


       Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                            Currentvalueofthe
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   D No
    • Yes. Describe

                                   Beds, couches, tables, chairs, lamps, dressers, pots and pans,
                                   silverware, etc,
                                   All itens are necessry for living and no item is worth more than
                                   $650.00                                                                                                                 $2,500.00


Official Form 106A/B                                                     Schedule A/B: Property                                                                  page 2
Software Copyright (o) 1996-2019 Best Case, LLC-www.bestcase.com                                                                                      Best Case Bankruptcy
          Case 19-04944-CL7                         Filed 08/20/19          Entered 08/20/19 13:50:49              Doc 1        Pg. 12 of 70
 Debtor 1        Karla L. Galvan
 Debtor 2        Jose M. Galvan                                                                      Case number (if known)
7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    DNo
     I Yes. Describe

                                     televisions, laptops, phones, no individual item is worth more than
                                     $650.00                                                                                                        $900.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    • No
    D Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
   DNo
   • Yes. Describe

                                     Two kayaks, two bikes, cleats, soccer balls, baseball bat and mitt.
                                     These are for the children and no item is worth more than $650.                                               $350.00


10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    • No
    D Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   DNo
   • Yes. Describe

                                   I purses, dresses, jeans, and shirts, jackets, etc.                             |                               $400.00


12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    IH No
    • Yes. Describe

                                   I costume jewelry, wedding ring                                                                               $3,100.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    D No
    • Yes. Describe

                                   | Gracie is a 9 year old femal pitbull                                          ]                               $100.00


14. Any other personal and household items you did not already list, including any health aids you did not list
   DNo
    • Yes. Give specific information

                                   I reading glasses                                                               \0



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.oom                                                                          Best Case Bankruptcy
         Case 19-04944-CL7                         Filed 08/20/19          Entered 08/20/19 13:50:49            Doc 1       Pg. 13 of 70
 Debtor 1       Karla L, Galvan
 Debtor2        Jose M. Galvan                                                                     Case number (if known)

 15. Add the dollar value of all of your entries from Parts, including any entries for pages you have attached
     for Part 3. Write that number here                                                                                                  $7,450.00


        Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                   Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.
16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    DNo
     I Yes..

                                                                                                      Cash                                         $2.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
    D No
      I Yes..                                                           Institution name:
                                                                        First Bank of America Checking Account (last
                                                                        four digits are 2098) with a balance of
                                                                        $-302.53
                                                                        Second Bank of America Checking Account
                                                                        (last four digits are 2006) with a balance of
                                                                        $-16.50
                                                                        Third Bank of America Checking Account IS
                                                                        CLOSED - See SOI (last four digits are 2945)
                                                                        with a blance of $ 0.00
                                                                        Bank of America Savings Account IS
                                                                        CLOSED - SEE SOI (last four digits are 7746)
                                                                        with a balance of $ 0.00
                                                                        First Chase Checking Account IS CLOSED -
                                                                        SEE SOI (last four digits are 3550) with a
                                                                        balance of $-337.69
                                                                        Second Chase Checking Account (last four
                                                                        digits are 1230) with a balance of $1,900.11
                                                                        California Coast Credit Union Checking
                                                                        Account (last four digits are xxxx) with a
                                                                        balance of $50.51
                                                                        California Coast Credit Union Savings
                                               Checking &               Account (last four digits are xxxx) with a
                                      17.1. Savings                     balance of $20.67                                                        $71.18


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   • No
   n Yes                           Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
   DNo
   • Yes. Give specific information about them
                                Name of entity:                                          % of ownership:




Official Form 106A/B                                                Schedule A/B: Property                                                         page 4
Software Copyright (o) 1996-2019 Best Case, LLC -www.bestcase.com                                                                       Best Case Bankruptcy
          Case 19-04944-CL7                         Filed 08/20/19          Entered 08/20/19 13:50:49            Doc 1         Pg. 14 of 70
 Debtor 1       Karla L. Galvan
 Debtor 2       Jose M. Galvan                                                                      Case number (if known)


                                         Galvan Hardwood Flooring Inc.
                                         This is Jose Galvan's business and the value is
                                         solely in his tools and the amount in his
                                         business checking. Both values are listed
                                         elsewhere in this Schedule B. This business is
                                         no longer active as he has a new job as an
                                         hourly worker.                                                  100%        %                                 $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    • No
    D Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   IH No
   • Yes. List each account separately.
                               Type of account:                  Institution name:

                                      Pension                            Karla Galvan Mandatory retirement/pension                                     $0.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   D No
     I Yes..                                                  Institution name or individual:

                                      Rent                               rental deposit for 1651 South Juniper Street,                           $1,850.00
                                                                         #171, Escondido , CA 92025


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   • No
   Q yes                  Issuer name and description.

24 Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   • No
   [3 yes                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
   • No
   D Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   • No
   D Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    • No
    D Yes. Give specific information about them...
 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

Official Form 106A/B                                                 Schedule A/B: Property                                                            page 5
Software Copyright {c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
         Case 19-04944-CL7                         Filed 08/20/19          Entered 08/20/19 13:50:49                Doc 1        Pg. 15 of 70
 Debtor 1        Karla L. Galvan
 Debtor 2        Jose M. Galvan                                                                         Case number (if known)
28. Tax refunds owed to you
   • No
   D Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   • No
   D Yes. Give specific information


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
   • No
   D Yes. Give specific information-

Si . Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    • No
    D Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                     value:
32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
   • No
   D Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   • No
   D Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   • No
   D Yes. Describe each claim

35. Any financial assets you did not already list
   • No
   D Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here..                                                                                                      $1,923.18

          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable Interest in any business-related property?
   D No. Go to Part 6.
   • Yes. Go to line 38.

                                                                                                                                    Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

38. Accounts receivable or commissions you already earned
   • No
   D Yes. Describe


Official Form 106A/B                                                 Schedule A/B: Property                                                              page 6
Software Copyright (o) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
         Case 19-04944-CL7                        Filed 08/20/19          Entered 08/20/19 13:50:49                   Doc 1       Pg. 16 of 70
 Debtor 1       Karla L. Galvan
 Debtor 2       Jose M. Galvan                                                                           Case number (if known)
39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    • No
    D Yes. Describe


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
   D No
   • Yes. Describe


                                  I Jose Glavan's tools for his flooring business                                                             $3,500.00


41. Inventory
   • No
   DYes. Describe


42. Interests in partnerships or joint ventures
    • No
    D Yes. Give specific information about them..
                                Name of entity:                                                          % of ownership:

43. Customer lists, mailing lists, or other compilations
   • No.
   D Do your lists Include personally Identifiable Information (as defined in 11 U.S.C. § 101 (41 A))?

             • No
             IH Yes. Describe



44. Any business-related property you did not already list
    • NO
    D Yes. Give specific information



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here                                                                                                    $3,500.00

          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    • No. Go to Part 7.
    DYes. Go to line 47.

               Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
   D No
     I Yes. Give specific information..

                                        Lawrence Welk Resort Villas Time Share - 1 bedroom, 1 bath suite that
                                        will accommodate 4 guests comfortably. Usage is biennial in odd
                                        years in a floating week                                                                              $5,000.00

Official Form 106A/B                                               Schedule A/B: Property                                                           page 7
Software Copyright (o) 199S-2019 Best Case, LLC-www.bestcase.com                                                                         Best Case Bankruptcy
          Case 19-04944-CL7                         Filed 08/20/19          Entered 08/20/19 13:50:49              Doc 1           Pg. 17 of 70
Debtor 1        Karla L. Galvan
Debtor 2        Jose M. Galvan                                                                       Case number (if known)


54. Add the dollar value of all of your entries from Part 7. Write that number here                                                       $5,000.00

              List the Totals of Each Part of this Form

55.    Parti: Total real estate, line 2                                                                                                   $369,000.00
56.    Part 2: Total vehicles, line 5                                                  $41,849.00
57.    Part 3: Total personal and household items, line 15                              $7,450.00
58.    Part 4: Total financial assets, line 36                                          $1,923.18
59.    Part 5: Total business-related property, line 45                                 $3,500.00
60.    Part 6: Total farm- and fishing-related property, line 52                            $0.00
61.    Part 7: Total other property not listed, line 54                       +         $5,000.00

62. Total personal property. Add lines 56 through 61...                                $59,722.18   Copy personal property total             $59,722.18

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                        $428,722.18




Official Form 106A/B                                                 Schedule A/B: Property                                                             page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestoase.com                                                                        Bes'   Case Bankruptcy
              Case 19-04944-CL7                    Filed 08/20/19              Entered 08/20/19 13:50:49                      Doc 1      Pg. 18 of 70
 Fill in this information to identify your case:
 Debtor 1                 Karla L. Galvan
                         First Name                        Middle Name                   Last Name
 Debtor 2                Jose M. Galvan
 (Spouse if, filing)     First Name                        Middle Name                   Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                             D Check if this is an
                                                                                                                                          amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
mUM lili'iihly the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      • You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      D You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from    Check only one box tor each exemption.
                                                              ScheduleML
      1497 Jefferson Avenue Escondido,                              $369,000.00                             $100,000.00        C.C.P.§ 704.730
      CA 92027 San Diego County
      three bed one bath                                                                   100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                          any applicable statutory limit

     2005 Yamaha Banshee                                              $2,000.00                                 $2,000.00      C.C.P. §704.010
     ATV
     Line from Schedule A/B: 4.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      televisions, laptops, phones, no                                   $900.00                                  $900.00      C-C-P-   § 704.020
      individual item is worth more than
      $650.00                                                                              100% of fair market value, up to
      Line from Schedule A/B: 7.1                                                          any applicable statutory limit

      Two kayaks, two bikes, cleats,                                     $350.00                                  $350.00      C'C-P-   § 704.020
      soccer balls, baseball bat and mitt.
      These are for the children and no                                                    100% of fair market value, up to
      item is worth more than $650.                                                        any applicable statutory limit
      Line from Schedule A/B: 9.1

     purses, dresses, jeans, and shirts,                                 $400.00     •                            $400.00       C.C.P. §704.020
     jackets, etc.
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
Software Copyright (o) 1996-2019 Best Case, LLC -www.bestcas8.com                                                                                   Best Case Bankruptcy
            Case 19-04944-CL7                      Filed 08/20/19               Entered 08/20/19 13:50:49                      Doc 1        Pg. 19 of 70
 Debtor 1    Karla L. Galvan
 Debtor 2    Jose M. Galvan                                                                              Case number (if known)
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule fiJB that lists this property >>                 portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                             , ScheduleA/B_
     costume jewelry, wedding ring                                    $3,100.00                                  $3,100.00        C.C.P. § 704.040
     Line from Schedule MB: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Gracie is a 9 year old femal pitbull                               $100.00                                    $100.00        C.C.P. § 704.020
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     reading glasses                                                    $100.00                                    $100.00        C.C.P. § 704.050
     Line from Schedule A/B: 14.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking & Savings: First Bank of                                    $71.18                                    $71 18        C.C.P. § 704.070
     America Checking Account (last four
     digits are 2098) with a balance of                                                    100% of fair market value, up to
     $-302.53                                                                              any applicable statutory limit
     Second Bank of America Checking
     Account (last four digits are 2006)
     with a balance of $-16.50
     Third Bank of America Checking
     Account IS CLOS
     Line from Schedule A/B: 17.1

     Jose Glavan's tools for his flooring                             $3,500.00                                 $3,500.00         C-C-P-   § 704.060
     business
     Line from Schedule A/B: 40.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


3. Are you claiming a homestead exemption of more than $170,350?
   (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
     • No
     D      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            D     No
            D     Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 2

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           Case 19-04944-CL7                       Filed 08/20/19                Entered 08/20/19 13:50:49                         Doc 1      Pg. 20 of 70
 Fill in this information to identify your case:

 Debtor 1                   Karla L. Galvan
                            First Name                     Middle Name                       Last Name
 Debtor 2                   Jose M. Galvan
 (Spouse If, filing)        First Name                     Middle Name                       Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                   D Check if this is an
                                                                                                                                                amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
Is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
      D No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      • Yes. Fill in all of the information below.
               I List All Secured Claims
                                                                                                                                   Column B               Column C
 2, List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim ,      Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor's name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                 ; If any
 2.1 | Alaska Usa Feu                             Describe the property that secures the claim:                 $27,566.00                $20,061.00           $7,505.00
       Creditor's Name                            2015 CMC Sierra 71041 miles


                                                  As of the date you file, the claim is: Check all that
         4000 Credit Union Dr Ste                 apply.
        Anchorage, AK 99503                       C3 Contingent
         Number, Street, City, State & Zip Code   D Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                  H An agreement you made (such as mortgage or secured
 M Debtor 2 only                                    car loan)
 D Debtor 1 and Debtor 2 only                     D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another        d Judgment lien from a lawsuit
 M Check if this claim relates to a               D Other (including a right to offset)
   community debt

                                 Opened
                                 05/17 Last
                                 Active
 Date debt was incurred          2/02/19                 Last 4 digits of account number          0001




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 4
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestoase.com                                                                                         Best Case Bankruptcy
          Case 19-04944-CL7                         Filed 08/20/19                Entered 08/20/19 13:50:49                         Doc 1   Pg. 21 of 70

 Debtor 1 Karla L. Galvan                                                                                  Case number (if known)
              First Name                  Middle Name                     Last Name
 Debtor 2 Jose M. Galvan
              First Name                  Middle Name                     Last Name


12.2 | Bank Of America, N.a.                       Describe the property that secures the claim:                  $26,749.00           $369,000.00             $0.00
       Creditor's Name                             1497 Jefferson Avenue Escondido,
                                                   CA 92027 San Diego County
                                                   three bed one bath
                                                   As of the date you file, the claim is: Check all that
       4909 Savarese Cir                           apply.
       Tampa, FL 33634                             D Contingent
       Number, Street, City, State & Zip Code      D Unliquidated
                                                   G Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 L"H Debtor 1 only                                 B An agreement you made (such as mortgage or secured
 D Debtor 2 only                                     car loan)
 • Debtor 1 and Debtor 2 only                      D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another         D Judgment lien from a lawsuit
 • Check if this claim relates to a                D Other (including a right to offset)
   community debt

                               Opened
                               09/05 Last
                               Active
 Date debt was Incurred        2/28/19                    Last 4 digits of account number          1399


12.3 | California Coast Cu                         Describe the property that secures the claim:                  $18,953.00            $19,788.00             $0.00
       Creditor's Name                            2016 Jeep Wrangler 53405 miles

                                                  As of the date you file, the claim is: Check all that
       Po Box 502080                              apply.
       San Diego, CA92150                         D Contingent
       Number, Street, City, State & Zip Code     D Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 B Debtor 1 only                                   B An agreement you made (such as mortgage or secured
 D Debtor 2 only                                     car loan)
 D Debtor 1 and Debtor 2 only                      D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another         D Judgment lien from a lawsuit
 • Check if this claim relates to a                d Other (including a right to offset)
   community debt

                       Opened
                       12/15 Last
                       Active
Date debt was Incurred 2/07/19                            Last 4 digits of account number          0800




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of4
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                                    Best Case Bankruptcy
         Case 19-04944-CL7                        Filed 08/20/19                Entered 08/20/19 13:50:49                          Doc 1   Pg. 22 of 70

 Debtor 1 Karla L. Galvan                                                                                 Case number (if known)
              First Name                 Middle Name                     Last Name
 Debtor 2 Jose M. Galvan
              First Name                 Middle Name                     Last Name


12.4 | Chase Mtg                                  Describe the property that secures the claim:                 $234,076.00           $369,000.00             $0.00
       Creditor's Name                            1497 Jefferson Avenue Escondido,
                                                  CA 92027 San Diego County
       700 Kansas Lane Me                         three bed one bath
                                                  As of the date you file, the claim is: Check all that
       La4-6                                      apply.
       Monroe, LA 71203                           d Contingent
       Number, Street, City, State & Zip Code     D Unliquidated
                                                  D Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 D Debtor 1 only                                  Hi An agreement you made (such as mortgage or secured
 D Debtor 2 only                                      car loan)
 HI Debtor 1 and Debtor 2 only                    D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another        D Judgment lien from a lawsuit
 • Check If this claim relates to a               D Other (including a right to offset)
    community debt

                        Opened
                        08/12 Last
                        Active
 Date debt was Incurred 3/02/19                           Last 4 digits of account number         0219


       Shellpoint Mortgage
 2.5                                              Describe the property that secures the claim:                         $0.00         $369,000.00             $0.00
       Servicing
       Creditor's Name                            1497 Jefferson Avenue Escondido,
                                                  CA 92027 San Diego County
                                                  three bed one bath
                                                  As of the date you file, the claim is: Check all that
       P.O. Box 51850                             apply.
       Livonia, Ml 48151-5850                     D Contingent
       Number, Street, City, State & Zip Code     • Unliquidated
                                                  HI Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 D Debtor 1 only                                  D An agreement you made (such as mortgage or secured
 D Debtor 2 only                                    car loan)

 Hi Debtor 1 and Debtor 2 only                    D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another        D Judgment lien from a lawsuit
 HI Check if this claim relates to a              • Other (including a right to offset)     Chase Loan Servicer
    community debt

 Date debt was Incurred        July 9, 2019              Last 4 digits of account number          5466




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of4

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         Case 19-04944-CL7                        Filed 08/20/19                Entered 08/20/19 13:50:49                          Doc 1     Pg. 23 of 70

 Debtor 1 Karla L. Galvan                                                                                 Case number (if known)
             First Name                  Middle Name                     Last Name
 Debtor2 Jose M. Galvan
             First Name                  Middle Name                     Last Name

| 2.6 | Welk Resort Group                         Describe the property that secures the claim:                   $13,975.00               $5,000.00       $8,975.00
       Creditor's Name                            Lawrence Welk Resort Villas Time
                                                  Share -1 bedroom, 1 bath suite that
                                                  will accommodate 4 guests
                                                  comfortably. Usage is biennial in
                                                  odd years in a floating week
                                                  As of the date you file, the claim is: Check all that
       8860 Lawrence Welk Dr                      apply.
       Escondido, CA 92026                        D Contingent
       Number, Street, City, State & Zip Code     n Unliquidated
                                                  D Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 D Debtor 1 only                                  Bi An agreement you made (such as mortgage or secured
 D Debtor 2 only                                      car loan)
 H Debtor 1 and Debtor 2 only                     D Statutory Hen (such as tax lien, mechanic's lien)
 D At least one of the debtors and another        C3 Judgment lien from a lawsuit
 • Check If this claim relates to a               D Other (including a right to offset)
    community debt

                               Opened
                               03/15 Last
                               Active
 Date debt was incurred        12/26/18                  Last 4 digits of account number          0470



   Add the dollar value of your entries In Column A on this page. Write that number here:                               $321,319.00
   If this Is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $321,319.00

 tt&M       List Others to Be Notified for a Debt That You Already Listed
Use this page only If you have others to be notified about your bankruptcy for a debt that you already listed In Part 1. For example, If a collection agency Is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, If you have more
than one creditor for any of the debts that you listed In Parti, list the additional creditors-here. if you do not have additional persons to be notified for any
debts in Parti, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            page 4 of4
Software Copyright (o) 1996-2019 Best Case, LLC-www.bestcase.com                                                                                       Best Case Bankruptcy
           Case 19-04944-CL7                       Filed 08/20/19               Entered 08/20/19 13:50:49                            Doc 1          Pg. 24 of 70
 Fill in this information to identify your case:
 Debtor 1                 Karla L. Galvan
                          First Name                        Middle Name                     Last Name

 Debtor 2                 Jose M. Galvan
 (Spouse if, filing)      First Name                        Middle Name                     Last Name

 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                        D Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result In a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed In
Schedule D: Creditors Who Have Claims Secured by Properly. If more space Is needed, copy the Part you need, fill It out, number the entries in the boxes on the
left Attach the Continuation Page to this page. If you have no Information to report In a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
• -J=l.iUB List All of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?
       • No. Go to Part 2.
       Dyes.

I^-I.HM List All of Your NONPRIORITY Unsecured Claims
 3.   Do any creditors have nonpriority unsecured claims against you?
      C] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

       • Yes.

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
    unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
    than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of
    Part2.
                                                                                                                                                           Total claim
            Aes/efs                                                  Last 4 digits of account number       0002                                                        $8.325.00
             Nonpriority Creditor's Name
                                                                                                           Opened 01/07 Last Active
             Po Box 61047                                            When was the debt incurred?           1/11/19
             Harrisburg, PA17106
            Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
            Who Incurred the debt? Check one.
             • Debtor 1 only                                         Cl Contingent
             D Debtor 2 only                                         D Unliquidated
             D Debtor 1 and Debtor 2 only                            D Disputed
                                                                     Type of NONPRIORITY unsecured claim:
             D At least one of the debtors and another
            d Check if this claim Is fora community                  • Student loans
            debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
             • No                                                    d Debts to pension or profit-sharing plans, and other similar debts
            DYes                                                     D Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of4
Software Copyright (o) 1996-2019 Best Case, LLC - www.bestcase.com                                           41990                                                Best Case Bankruptcy
         Case 19-04944-CL7                        Filed 08/20/19               Entered 08/20/19 13:50:49                         Doc 1        Pg. 25 of 70
 Debtor 1 Karla L. Galvan
 Debtor 2 Jose M. Galvan                                                                               Case number (if known)


          Bank Of America                                          Last 4 digits of account number       1089                                          $26,439.00
          Nonpriority Creditor's Name
                                                                                                         Opened 07/02 Last Active
          Po Box 982238                                            When was the debt Incurred?           12/14/18
          El Paso, TX 79998
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.
          D Debtor 1 only
                                                                   D Contingent
          D Debtor 2 only
                                                                   D Unliquidated
           • Debtor 1 and Debtor 2 only                            D Disputed
          D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

          H Check If this claim Is for a community                 EH Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          • No                                                     D Debts to pension or profit-sharing plans, and other similar debts

          DYes                                                     • Other. Specify Credit Card


          Cap1/helzb                                               Last 4 digits of account number       4620                                            $4,642.00
          Nonpriority Creditor's Name
                                                                                                         Opened 4/21/15 Last Active
          Po Box 30253                                             When was the debt Incurred?           2/06/18
          Salt Lake City, UT 84130
          Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
          Who Incurred the debt? Check one.
          D Debtor 1 only                                          CI Contingent
          • Debtor 2 only                                          D Unliquidated
          D Debtor 1 and Debtor 2 only                             D Disputed
          D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

          D Check if this claim Is for a community                 D Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          • No                                                     D Debts to pension or profit-sharing plans, and other similar debts

          DYes                                                     • other, specify Charge Account


          Chase Card                                               Last 4 digits of account number       6185                                          $19.046.00
          Nonpriority Creditor's Name
                                                                                                         Opened 10/12 Last Active
          P.O. Box15298                                            When was the debt incurred?           9/10/18
          Wilmington, DE 19850
          Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
          Who Incurred the debt? Check one.

          • Debtor 1 only                                          D Contingent
          CH Debtor 2 only                                         D Unliquidated
          n Debtor 1 and Debtor 2 only                             D Disputed
          O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

          D Check if this claim Is for a community                 D Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          • No                                                     D Debts to pension or profit-sharing plans, and other similar debts

          IH Yes                                                   • Other. Specify     Credit Card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 4
Software Copyright (o) 1996-2019 Best Case, LUC-www.bestcase.com                                                                                     Best Case Bankruptcy
         Case 19-04944-CL7                       Filed 08/20/19               Entered 08/20/19 13:50:49                          Doc 1        Pg. 26 of 70
 Debtor 1 Karla L. Galvan
 Debtor 2 Jose M. Galvan                                                                               Case number (if known)

          Chase Card                                               Last 4 digits of account number       0612                                           $12,009.00
          Nonpriority Creditor's Name
                                                                                                         Opened 04/13 Last Active
          P.O. Box 15298                                           When was the debt Incurred?           3/08/19
          Wilmington, DE 19850
          Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
          Who incurred the debt? Check one.
          D Debtor 1 only                                          D Contingent
          • Debtor 2 only                                          D Unliquidated
          D Debtor 1 and Debtor 2 only                             D Disputed
          D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
          D Check if this claim is fora community                  O Student loans
          debt                                                     C] Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          • No                                                     d Debts to pension or profit-sharing plans, and other similar debts
          DYes                                                     • Other. Specify Credit Card


 4.6      Chase Card                                               Last 4 digits of account number       1611                                             $7.992.00
          Nonpriority Creditor's Name
                                                                                                         Opened 02/04 Last Active
          P.O. Box 15298                                           When was the debt incurred?           10/05/18
          Wilmington, DE 19850_
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.
          D Debtor 1 only                                          D Contingent
          n Debtor 2 only                                          D Unliquidated
          • Debtor 1 and Debtor 2 only                             D Disputed
          Cl At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
          • Check If this claim Is fora community                  D Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          • No                                                     d Debts to pension or profit-sharing plans, and other similar debts
          DYes                                                     • other. Specify Credit Card


          Portfolio Recov Assoc                                    Last 4 digits of account number       4620                                             $4,643.00
          Nonpriority Creditor's Name
          120 Corporate Blvd Ste 1                                 When was the debt incurred?           Opened        11/18
          Norfolk, VA 23502
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          D Debtor 1 only                                          n Contingent
          • Debtor 2 only                                          D Unliquidated
          D Debtor 1 and Debtor 2 only                             D Disputed
          D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
          D Check if this claim is fora community                  D Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          • NO                                                     n Debts to pension or profit-sharing plans, and other similar debts
                                                                                    Factoring Company Account Capital One
          DYes                                                     • Other. Specify N.A.

            | List Others to Be Notified About a Debt That You Already Listed
5. Use this page only If you have others to be notified about your bankruptcy, fora debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you fora debt you owe to someone else, list the original creditor In Parts 1 or 2, then list the collection agency here. Similarly, If you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page3 of 4
Software Copyright (c) 1996-2019 Best Case, LLC-www.bastcase.com                                                                                      Best Case Bankruptcy
          Case 19-04944-CL7                        Filed 08/20/19               Entered 08/20/19 13:50:49                        Doc 1    Pg. 27 of 70
 Debtor 1 Karla L. Galvan
 Debtor 2 Jose M. Galvan                                                                                Case number (if known)

            I Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This Information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.
                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.                            0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                       6b.                             0.00
                        6c.   Claims for death or personal injury while you were Intoxicated             6c.      $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                      0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.                         8,325.00
 Total
 claims
 from Part 2            6g. Obligations arising out of a separation agreement or divorce that
                            you did not report as priority claims                                        63-                             0.00
                        6h. Debts to pension or profit-sharing plans, and other similar debts            6h.                             0.00
                        6i. Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                            here.                                                                                                   74,771.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6J.                       83,096.00




Official Form 106 E/F                                  Schedule Elf: Creditors Who Have Unsecured Claims                                                Page 4 of 4

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            Case 19-04944-CL7                     Filed 08/20/19          Entered 08/20/19 13:50:49                Doc 1        Pg. 28 of 70
 Fill in this information to identify your case:

 Debtor 1                Karla L. Galvan
                         First Name                         Middle Name
 Debtor 2                Jose M. Galvan
 (Spouse If, filing)     First Name                         Middle Name         Last Name

 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                    D Check if this is an
                                                                                                                                 amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
       D No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       • Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Alaska Usa Feu                                                         Auto loan for the CMC Sierra
              4000 Credit Union Dr Ste
              Anchorage, AK 99503


     2.2      Bank Of America, N.a.                                                  Second mortgage on the debtor's residence that they
              4909 Savarese Cir                                                      own,
              Tampa, FL 33634


     2.3      California Coast Cu                                                    Jeep Wrangler auto loan
              Po Box 502080
              San Diego, CA 92150


     2.4      Chase Mtg                                                              First Mortgage on the debtors residence that they own
              700 Kansas Lane Me La4-6
              Monroe, LA 71203


     2.5      Welk Resort Group                                                      Time share contract
              8860 Lawrence Welk Dr
              Escondido, CA 92026

     2.6     Whittington Property Managment                                          Lease for the property at 1651 South Juniper Street, Unit
             9633 Grossmont Summit Drive                                             # 171 - Escondido, CA 92025
             La Mesa, CA 91941




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                            Best Case Bankruptcy
                                                                                                                                  '*^r^*5f??**33*r&
            Case 19-04944-CL7                           Filed 08/20/19            Entered 08/20/19 13:50:49            Doc 1         Pg. 29 of 70
 Fill in this information to identify your case:
 Debtor 1                    Karla L. Galvan
                             First Name                          Middle Name            Last Name
 Debtor 2                    Jose M. Galvan
 (Spouse if, filing)         First Name                          Middle Name            Last Name

 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                        D Check if this is an
                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      DNo
      »Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      D No. Go to line 3.
      • Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                D No
                • Yes.

                        in which community state or territory did you live?             -NONE-          . Fill in the name and current address of that person.


                        Name of your spouse, former spouse, or legal equivalent
                        Number, Street, City, State & Zip Code

   3. In Column 1, list all of yourcodebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.
                Column 1: Your codebtor                                                                 Column 2; The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply;


    3.1        Gerardo Serrano                                                                          D Schedule D, line_
               2130 S. Santa Fe Avenue                                                                  D Schedule E/F, line.
               #21                                                                                      D Schedule G
               Vista, CA 92084                                                                          Cap1/helzb




    3.2         Gerardo Serrano                                                                         n Schedule D, line
               2130 S. Santa Fe Avenue                                                                  D Schedule E/F, line.
               #21                                                                                      D Schedule G
               Vista, CA 92084                                                                          Portfolio Recov Assoc




Official Form 106H                                                                  Schedule H: Your Codebtors                                            Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 19-04944-CL7                   Filed 08/20/19       Entered 08/20/19 13:50:49                   Doc 1            Pg. 30 of 70



Fill in this information to identify your case:

Debtor 1                        Karla L. Galvan

Debtor 2                        Jose M. Galvan
(Spouse, if filing)

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF CALIFORNIA

Case number                                                                                            Check if this is:
(If known)                                                                                             D An amended filing
                                                                                                       CH A supplement showing postpetition chapter
                                                                                                          13 income as of the following date:

Official Form 1061                                                                                         MM/DD/YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

                       Describe Employment

1.     Fill in your employment
       information.                                                 Debtor .1                                 Debtor 2 or non-filing spouse

       If you have more than one job,                               H Employed                                   Employed
       attach a separate page with             Employment status
                                                                    D Not employed                               Not employed
       information about additional
       employers.
                                               Occupation           Paralegal
       Include part-time, seasonal, or
       self-employed work.                     Employer's name      San Diego County

       Occupation may include student          Employer's address   325 S. Melrose Drive, Suite
       or homemaker, if it applies.                                 5000
                                                                    Vista, CA 92081

                                               How long employed there?         12/31/2010

                      I Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.




        List monthly gross wages, salary, and commissions (before all payroll
2-      deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       6,554.53      $           4,420.00

3.      Estimate and list monthly overtime pay.                                              3.   +$            0.00     +$               0.00

4.      Calculate gross Income. Add line 2 + line 3.                                         4.         6,554.53              $     4,420.00




Official Form 1061                                                        Schedule I: Your Income                                                pagel
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 Debtor 1   Karla L. Galvan
 Debtor 2   Jose M. Galvan                                                                       Case number (if known)




      Copy line 4 here                                                                     4.

 5.   List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.  $            1,309. 42    $               0.00
      5b.   Mandatory contributions for retirement plans                                   5b.  $              474.93     $               0.00
      5c.   Voluntary contributions for retirement plans                                   5c.  $                0.00     $               0.00
      5d.   Required repayments of retirement fund loans                                   5d.  $                0.00     $               0.00
      5e.   Insurance                                                                      5e.  $            1,782. 74    $               0.00
      5f.   Domestic support obligations                                                   5f.  $                0.00     $               0.00
      5g.   Union dues                                                                     5g. $                 0. 00    $               0.00
      5h.   Other deductions. Specify:                                                     5h.+ $                0.00 +   $               0.00
 6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.    $           3,567. 09    $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.    $           2,987.44     $       4,420.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
            Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.       $           0.00     $               0.00
      8b. Interest and dividends                                                           8b.       $           0.00     $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                           8c.   $               0.00     $               0.00
      8d. Unemployment compensation                                                        8d.   $               0.00     $               0.00
      8e. Social Security                                                                  8e.   $               0.00     $               0.00
      8f.   Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                       81'. $                O.C 0   $                0.00
      8g. Pension or retirement income                                                     8 3. $                O.C 0   $                0.00
      8h. Other monthly income. Specify:                                                   8 i.+ $               0.0 0 f $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9     $               O.Q 0    $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $             2,9 87.44 + $    4,420.00 = $            r,407.44
    Add the entries in line 1 0 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                     12.   $           7,407.44
                                                                                                                                      Combined
                                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
    • No.
    D     Yes. Explain: |




Official Form 1061                                                     Schedule 1: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1              Karla L. Galvan                                                                   Check if this is:
                                                                                                        O An amended filing
Debtor 2              Jose M. Galvan                                                                    D A supplement showing postpetition chapter
(Spouse, if filing)                                                                                         13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA                                        MM/DD/YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.
             Describe Your Household
1.    Is this a joint case?
      D No. Go to line 2.
      • Yes. Does Debtor 2 live in a separate household?
                D No
                • Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?             Q No
      Do not list Debtor 1 and               Fillsout this information for
                                           | Ye                                Dependent's relationship to         Dependent's      Does dependent
      Debtor 2.                                    each dependent              Debtor 1 or Debtor 2               age               live with you?

      Do not state the                                                                                                              D No
      dependents names.                                                        Jose Galvan, Jr.                    10               • Yes
                                                                                                                                    DNo
                                                                               Celeste Galvan                      15               • Yes
                                                                                                                                    n NO
                                                                                                                                    DYes
                                                                                                                                    DNo
                                                                                                                                    DYes
3.    Do your expenses include      |   No
      expenses of people other than .-,
      yourself and your dependents?     Yes

    F3HI Estimate Your Ongoing Mo nth Iy Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)                                                                                                   Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                      4. $                            1,616.80

      If not included in line 4:
      4a. Real estate taxes                                                                           4a. $                              174.67
      4b. Property, homeowner's, or renter's insurance                                                4b.    $                            41.66
      4c. Home maintenance, repair, and upkeep expenses                                               4c.    $                              0.00
      4d. Homeowner's association or condominium dues                                                 4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                       5.    $                              0.00




Official Form106J                                                   Schedule J: Your Expenses                                                        page 1
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Debtor 1    Karla L. Galvan
Debtor2     Jose M. Galvan                                                                            Case number (if known)

6.   Utilities:
     6a. Electricity, heat, natural gas                                                    6a. $                                                 120.00
     6b. Water, sewer, garbage collection                                                  6b. $                                                 110.00
     6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                 564.00
     6d. Other. Specify:                                                                   6d. $                                                   0.00
7. Food and housekeeping supplies                                                            7. $                                                500.00
8. Childcare and children's education costs                                                  8. $                                                  0.00
9. Clothing, laundry, and dry cleaning                                                       9. $                                                 50.00
1 0. Personal care products and services                                                   10. $                                                 100.00
1 1 . Medical and dental expenses                                                          11. $                                                   0.00
12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                          12. $                                                 640.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14. Charitable contributions and religious donations                                       14. $                                                   0.00
15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
     15a. Life insurance                                                                  15a. $                                                     0.00
     15b. Health insurance                                                                15b. $                                                     0.00
     15c. Vehicle insurance                                                               15c. $                                                     0.00
     15d. Other insurance. Specify:                                                       15d. $                                                     0.00
1 6. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                              16. $                                                     0.00
17. Installment or lease payments:
     1 7a. Car payments for Vehicle 1                                                     17a. $                                                   0.00
     1 7b. Car payments for Vehicle 2                                                     17b. $                                                 475.00
     17c. Other. Specify:                                                                 17o. $                                                   0.00
     17d. Other. Specify:                                                                 17d. $                                                   0.00
1 8. Your payments of alimony, maintenance, and support that you did not report as
     deducted from your pay on line 5, Schedule 1, Your Income (Official Form 1061).       18. $                                                     0.00
19. Other payments you make to support others who do not live with you.                         $                                                    0.00
     Specify:                                                                              19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.
     20a. Mortgages on other property                                                    20a. $                                                      0.00
     20b. Real estate taxes                                                              20b. $                                                      0.00
     20c. Property, homeowner's, or renter's insurance                                    20c. $                                                     0.00
     20d. Maintenance, repair, and upkeep expenses                                       20d. $                                                      0.00
     20e. Homeowner's association or condominium dues                                    20e. $                                                      0.00
21. Other: Specify:                                                                        21. +$                                                    0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
    22c. Add line 22a and 22b. The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a. $                               7,407.44
    23b. Copy your monthly expenses from line 22c above.                                                  23b. -$                              8,339.69
     23c. Subtract your monthly expenses from your monthly income.
          The result is your monthly net income.                                                          23c. $                                 -932.25

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
     • No.
     n Yes.             | Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                     page 2
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 Debtor 1     Karla L. Galvan
 Debtors      Jose M. Galvan                                                                          Case number (if known)


Fill in this information to identify your case:

 Debtor 1             Karla L. Galvan                                                                    Check if this is:
                                                                                                         D An amended filing
Debtor 2              Jose M. Galvan                                                                     D A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                          expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA                                        MM/DD/YYYY
Case number
(If known)
                                                                                                         D

Official Form 106J-2
Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                      12/15
Use this form for Debtor 2's separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.
              Describe Your Household

1.    Do you and Debtor 1 maintain separate households?
      n      No. Do not complete this form.
      |         Yes

2.    Do you have dependents?             rj No
      Do not list Debtor 1 but             I Yes.
      list all other
      dependents of Debtor 2
      regardless of whether
      listed as a dependent
      of Debtor 1 on                                Fill out this information for   Dependent's relationship to       Dependent's      Does dependent


      Do not state the                                                                                                                 DNo
      dependents names.                                                             Jose   ^^ Jf                     1Q
                                                                                                                                       • Yes
                                                                                                                                       n NO
                                                                                    Celeste Galvan                    15               • Yes
                                                                                                                                       D No
                                                                                                                                       DYes
      •                                                                                                                                LI No
                                                                                                                                       DYes
3.    Do your expenses include                 R No
      expenses of people other than            .-|
      yourself and your dependents?                  es



     FJ^H Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.
Include expenses paid for with non-cash government assistance if you know the value                          j    ~ .. ' '
of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                     |    Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                        1,845.00

      If not included in line 4:
      4a.     Real estate taxes                                                                             4a. $                             0.00
      4b.     Property, homeowner's, or renter's insurance                                                  4b. $                            15.00
Official Form 106J                                                    Schedule J: Your Expenses                                                         pages
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Debtor 1    Karla L. Galvan
Debtor 2    Jose M. Galvan                                                                           Case number (if known)

     4o.   Home maintenance, repair, and upkeep expenses                                                   4c. $                                    0.00
     4d. Homeowner's association or condominium dues                                                       4d. $                                    0.00
5.   Additional mortgage payments for your residence, such as home equity loans                             5. $                                    0.00

6.   Utilities:
     6a. Electricity, heat, natural gas                                                    6a. $                                                 90.00
     6b. Water, sewer, garbage collection                                                  6b. $                                                  0.00
     6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                 50.00
     6d. Other. Specify:                                                                   6d. $                                                  0.00
7. Food and housekeeping supplies                                                            7. $                                               420.00
8. Childcare and children's education costs                                                  8. $                                                 0.00
9. Clothing, laundry, and dry cleaning                                                       9. $                                               100.00
10. Personal care products and services                                                    10. $                                                 80.00
1 1 . Medical and dental expenses                                                          11. $                                                 50.00
12. Transportation. Include gas, maintenance, bus ortrain fare.
     Do not include car payments.                                                          12. $                                                 300.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  90.00
14. Charitable contributions and religious donations                                       14. $                                                   0.00
15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
     15a. Life insurance                                                                 15a. $                                                    6.56
     15b. Health insurance                                                               15b. $                                                    0.00
     15c. Vehicle insurance                                                               15c. $                                                 166.00
     1 5d. Other insurance. Specify:                                                     15d. $                                                    0.00
1 6. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                              16. $                                                    0.00
17. Installment or lease payments:
     1 7a. Car payments for Vehicle 1                                                    17a. $                                                  515.00
     17b. Car payments for Vehicle 2                                                     17b. $                                                    0.00
     17c. Other. Specify:                                                                 17c. $                                                   0.00
1 8. Your payments of alimony, maintenance, and support that you did not report as
     deducted from your pay on line 5, Schedule 1, Your Income (Official Form 1061).       18. $                                                    0.00
19. Other payments you make to support others who do not live with you.                         $                                                   0.00
     Specify:                                                                              19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.
     20a. Mortgages on other property                                                    20a. $                                                    0.00
     20b. Real estate taxes                                                              20b. $                                                    0.00
     20c. Property, homeowner's, or renter's insurance                                   20c. $                                                    0.00
     20d. Maintenance, repair, and upkeep expenses                                       20d. $                                                    0.00
     20e. Homeowner's association or condominium dues                                    20e. $                                                    0.00
21 . Other: Specify:     Student Loan                                                      21. +$                                                120.00
22. Your monthly expenses. Add lines 5 through 21 .                                                                $                       3,847.56
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedu eJto
    calculate the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
    modification to the terms of your mortgage?
      I No.
    D Yes.               | Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                    page 4
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 Fill in this information to identify your case:
 Debtor 1                    Karla L. Galvan
                             First Name                   Middle Name             Last Name

 Debtor 2                    Jose M. Galvan
 (Spouse if, filing)         First Name                   Middle Name             Last Name

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                   D Check if this is an
                                                                                                                                amended filing



Official Form 106Dec
Declaration About an individual Debtor's Schedules                                                                                                    12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.


                       Sign Below

        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
               Yes. Name of person                                                                          Attach Bankruptcy Petition Prepared Notice,
                                                                                                            Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.
                                             ~XA            /J^n/
        X 1st Karla L. Galvan                                                     X- 1st Jose M. Galvan
          Karla L. Galvan                                                             Jose M. Galvan
              Signature of Debtor                                                     Signature of Debtor

              Date       August 20, 2019                                              Date    August 20, 2019




Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:
 Debtor 1                  Karla L. Galvan
                           First Name                           Middle Name
 Debtor 2                  Jose M. Galvan
 (Spouse if, filing)       First Name                           Middle Name                         Last Name

 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                                    D Check if this is an
                                                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                                           12/15
If you are an individual filing under chapter 7, you must fill out this form if:
• creditors have claims secured by your property, or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

                List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Parti of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
  "ktentlfy theTcreditor and the property that is collateral                                             . What doi you intend to do with the property that             Did you claim .the property
      : . : . . . • . . . . . - ' " .' .' • ' ' . ' . . . ' '-' . " ' . ' . . . . . . .-: : . . ' - . . ' sec'ures,a debt? '...,...„ ::..:.:..iJ.,':;,;...'' ....;.:-.. as exempt on ScheduleC?


    Creditor's         Bank Of America, N.a.                                       D Surrender the property.                                                 IH No
    name:                                                                          • Retain the properly and redeem it.
                                                                                   D Retain the property and enter into a                                    • Yes
    Description of        1497 Jefferson Avenue                                      Reaffirmation Agreement.
    property              Escondido, CA 92027 San                                  D Retain the property and [explain]:
    securing debt:        Diego County
                          three bed one bath


    Creditor's         California Coast Cu                                         D Surrender the property.                                                 • No
    name:                                                                          D Retain the property and redeem it.
                                                                                   • Retain the property and enter into a                                    IH Yes
    Description of 2016 Jeep Wrangler 53405 miles                                    Reaffirmation Agreement.
    property                                                                       D Retain the property and [explain]:
    securing debt:


    Creditor's         Chase Mtg                                                   D Surrender the property.                                                 n NO
    name:                                                                          D Retain the property and redeem it.
                                                                                   • Retain the property and enter into a                                    • Yes
    Description of        1497 Jefferson Avenue                                      Reaffirmation Agreement.
                          Escondido, CA 92027 San

Official Form 108                                          Statement of Intention for Individuals Filing Under Chapter 7                                                                    page 1

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 Debtor 1      Karla L. Galvan
 Debtor 2      Jose M. Galvan                                                                        Case number (itknown)

    property            Diego County                                     D Retain the property and [explain]:
    securing debt:      three bed one bath



    Creditor's     Welk Resort Group                                     1 Surrender the property.                               n NO
    name:                                                                D Retain the property and redeem it.
                                                                         D Retain the property and enter into a                  • Yes
    Description of      Lawrence Welk Resort Villas                        Reaffirmation Agreement.
    property            Time Share - 1 bedroom, 1 bath                   D Retain the property and [explain]:
    securing debt:      suite that will accommodate 4
                        guests comfortably. Usage is
                        biennial in odd years in a
                        floating week

           List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it 11 U.S.C. § 365(p)(2).

Describe your uncxpired personal property leases                                                                             Will the lease be assumed?

Lessor's name:                California Coast Cu                                                                            D No

                                                                                                                                Yes

Description of leased         Jeep Wrangler auto loan
Property:

Lessor's name:                Whittington Property Managment                                                                 D No

                                                                                                                             • Yes

Description of leased         Lease for the property at 1651 South Juniper Street, Unit #171
Property:                     Escondido, CA 92025


              Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpiped lease.

X     Isl Karla L. Galvan                                                           X /S/JoseM.
      Karla L. Galvan                /                                                Jose M. Galvan sr
      Signature of Debtef~4                                                           Signature of Debtor"2

       Date        August 20, 2019                                                  Date    August 20, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                    page 2

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 Fill in this information to identify your case:                                                  Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
 Debtor 1              Karla L. Galvan
 Debtor 2              Jose M. Galvan                                                                D 1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                     B 2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:           Southern District of California
                                                                                                          applies will be made under Chapter 7 Means Test
                                                                                                          Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                          D 3. The Means Test does not apply now because of
                                                                                                          qualified military service but it could apply later.
                                                                                                      D Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.
                   Calculate Your Current Monthly Income
        What is your marital and filing status? Check one only.
        D Not married. Fill out Column A, lines 2-11.
        • Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        G Married and your spouse is NOT filing with you. You and your spouse are:
              D Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           D Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill In the average monthly Income thatyou received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(1 OA). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly Income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not Include any Income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                     I Column A                 Column B             :
                                                                                                     ; Debtor 1                 Debtor 2 or         ',
                                                                                                                               [npn;flljng_sp-ouse_ >
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                                       6,554.53       $         4,420.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                                           0.00     $               0.00

  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                                                        0.00                      0.00

  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
     Gross receipts (before all deductions)                    $    0.00
     Ordinary and necessary operating expenses                -$'   0.00
     Net monthly income from a business, profession, or farm $      0.00    Copy here -> $                            0.00     $               0.00
  6. Net income from rental and other real properly
                                                                                  Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                       -$'     0.00
        Net monthly income from rental or other real property                   0.00 Copy here -> $                   0.00                     0.00
                                                                                                      $               0.00                     0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Karla L. Galvan
              Jose M. Galvan                                                                              Case number (if known)



                                                                                                      Column A                      Column B
                                                                                                      Debtor 1                      Debtor 2 or
                                                                                                                                    non-filing spouse
   8. Unemployment compensation                                                           $                              0.00       $               0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
            For your spouse                                          $                    0.00
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                         $                 0-00        $               0.00
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act or payments
       received as a victim of a war crime, a crime against humanity, or international or
       domestic terrorism. If necessary, list other sources on a separate page and put the
       total below.
                                                                                                      $                 0.00        $               0.00
                                                                                                      $                 0.00        $              0.00
                    Total amounts from separate pages, if any.                                   +    $                 0.00        $               0.00

   1 1 . Calculate your total current monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.               $       6,554.53          + $         4,420.00       = $        10,974.53

                                                                                                                                                       Total current monthly
                                                                                                                                                       income
^^^^H           Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 1 1                                               Copy line 11 here=>                 $        10,974.53

              Multiply by 12 (the number of months in a year)                                                                                           x 12
       12b. The result is your annual income for this part of the form                                                                      12b. $         131,694.36

  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.                                  CA

       Fill in the number of people in your household.               |        4
       Fill in the median family income for your state and size of household.                                                               13.    $        96,813.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk's office.
  14. How do the lines compare?
       14a.     D      Line 12b is less than or equal to line 13. On the top of page 1, c:heck box 1 , There is no presumption of abuse.
                       Go to Part 3.
       14b.     •      Line 12b is more than line 13. On the top of page 1, checkbox2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A-2.


              By signing here, I declare underngflalty of perjury that the information on this statement and in any attachments is true and correct.
                                                                                                                      /^/          . *rf '^
            X Isl Karla L. Galvan    / \>fc^7/^,                           ——         X Isl Jose M. Galvar\£>x^                         -o-iC
              Karla L. Galvan      /        j/                                          Jose M. Galvan ^?
              Signature of DebtOHK       £/                                             Signature of DebtooS
        Date August 20, 2019                                                       Date August   20, 2019
               MM/DD /YYYY                                                                MM/DD /YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                         page 2
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 Fill in this information to identify your case:                                                                        Check the appropriate box as directed in
                                                                                                                        lines 40 or 42:
 Debtor 1            Karla L. Galvan
                                                                                                                           According to the calculations required by this
 Debtor 2           Jose M. Galvan                                                                                         Statement:
 (Spouse, if filing)                                     ~          ~       '
                                                                                                                           B 1. There is no presumption of abuse.
 United States Bankruptcy Court for the:           Southern District of California
                                                                                                                           D 2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                    D Check if this is an amended filing
Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                           04/19
To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

               Determine Your Adjusted Income

 1.    Copy your total current monthly income.                              Copy line 11 from Official Form 122A-1 here=>                            $           10,974.53

2.     Did you fill out Column B in Part 1 of Form 122A-1?
       D No. Fill in $0 for the total on line 3.
       • Yes. Is your spouse Filing with you?
         D No.      Go to line 3.
          • Yes.         Fill in $0 for the total on line 3.

3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
      household expenses of you or your dependents. Follow these steps:
       On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used for the household
       expenses of you or your dependents?

       • No. Fill in 0 for the total on line 3.
       D Yes. Fill in the information below:
                                                                                      .
              'State each purpose for which the Inco'me was used" ^. %"J%                            fie amount you;,
               Forexarnpl'Irithe'incQme Is used to payyoOfsSpoUse*¥taxdebtof.fe-|            [arels'ubtractingfrornc* '-,
                                                                                             |   tW^V^^MW   ,N*iV-fP~    ^<,   <:



               support oth'erffianyou oryour dependents^.,' ^'jMSf"''''"^' Jl'J              t'ypurspouse s jncome( ;




                    Total.                                                                                      0.00

                                                                                                                                    Copy total here=>... - $            0.00


4.    Adjust your current monthly income. Subtract line 3 from line 1.                                                                                   $     10,974.53




Official Form 122A-2                                                Chapter? Means Test Calculation                                                                   page 1
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 Debtor 1         Karla L. Galvan
 Debtor 2         Jose M. Galvan                                                                            Case number (if known)


                   Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
    your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
    income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

    If your expenses differ from month to month, enter the average expense.

    Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


    5.      The number of people used in determining your deductions from income

            Fill in the number of people who could be claimed as exemptions on your federal income tax return,
            plus the number of any additional dependents whom you support. This number may be different from
            the number of people in your household.


   ! '    '    r~~ ",          :    ,     ~ "~ 7 ~ -        T»- piiiT^y.""^- *•' •• • v '-A- '"K v •; *« y""« ~ , . * " , • , > * • » • * • " T~ ""'••< <?•=;"
    National Standards             •<,   You must use theJRS National Standards to answer the* tjuesttons.tn lines 6-7. • - ' : - ,


    6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
            Standards, fill in the dollar amount for food, clothing, and other items.                                                          $                 1,786.00


    7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
            the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are under 65 and
            people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your actual expenses are
            higher than this IRS amount, you may deduct the additional amount on line 22.


    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person                          55.00
            7b. Number of people who are under 65

            7c. Subtotal. Multiply line 7a by line 7b.                                 220.00              Copy here=>        $         220.00


  i People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person               $         114.00

            7e. Number of people who are 65 or older                        X

            7f.    Subtotal. Multiply line 7d by line 7e.                                 0.00             Copy here=>       +$            0.00


            7g. Total. Add line 7c and line 7f                                                   $        220.00                  Copy total here=>   $          220.00




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                               page 2
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 Dsbtor1      Karla L. Galvan
 Debtor 2     Jose M. Gal van                                                                      Case number (ff known)


    Local Standards .'You must use the JRSL'ocal Standards to answer tfie questions fn lines 8-f5,b-             •-

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:

    • Housing and utilities - Insurance and operating expenses
    • Housing and utilities - Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


    8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
            in the dollar amount listed for your county for insurance and operating expenses                                                            691.00
    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses                                                  $     2,479.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file
                 for bankruptcy. Then divide by 60.
                                                                          „_„,
                [Name of the creditor
                                                                     ;""•-- -" Pay™,^*|-J%
                 Bank Of America, N.a.                                                  304.70
                 Chase Mtg                                                            1,326.61


                                                                                                       Copy
                                                                                                                                         Repeat this
                                       Total average monthly payment                  1,631.31         here=>                  1 (TM 1-1 amounton
                                                                                                                               1.631.31  Iine33a.

            9c. Net mortgage or rent expense.

                 Subtract line 9b (total average monthly payment) from line 9a (mortgage                                          Copy
                 or rent expense). If this amount is less than $0, enter $0                                           847.69      here=> $              847.69


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                      1,036.28

                          debtors live separately this amount accounts for primary debtos rent in excess
             Explain why: of the $2,416 allowance

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

            D 0. Go to line 14.
            D 1. Go to line 12.

            • 2 or more. Go to line 12.


    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                             510.00




Official Form 122A-2                                               Chapter 7 Means Test Calculation                                                      page 3
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 Debtor 1     Karla L. Galvan
 Debtor2      Jose M. Galvan                                                                        Case number (If known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.


     Vehicle 1       I Describe Vehicle 1:
                                                  2016 Jeep Wrangler 53405 miles

    13a. Ownership or leasing costs using IRS Local Standard..                                                           508.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
         Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you filed for
            bankruptcy. Then divide by 60.

                 Nameof each creditor for Vehicle; 1 t *",''".','','''• {' ~- / Average monthly";
                               -    '   ''       '- : , "          ""~l,'r payment- ':#>'•" „""'
                 California Coast Cu                                                     515.03

                                                                                                                                        Repeat this
                                                                                                       Copy
                                        Total Average Monthly Payment          $         515.03        here =>      -$
                                                                                                                                c<c n-» amount on
                                                                                                                                515.03 |ine33b.



    13c. Net Vehicle 1 ownership or lease expense                                                                                     Copy net
                                                                                                                                      Vehicle 1
         Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                   expense
                                                                                                                           0.00       here=> $                 0.00




     Vehicle 2 | Describe Vehicle 2:
                                   2015 CMC Sierra 71041 miles

    13d. Ownership or leasing costs using IRS Local Standard..                                                           508.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                Name of each creditor for Vehicle 2


                Alaska Usa Feu                                                           476.00

                                                                                                       Copy                           Repeat this
                                                                                                       here                  .-,,. nn amount on
                                        Total Average Monthly Payment         $          476.00               -$.            476.00 line 33o.



    13f. Net Vehicle 2 ownership or lease expense                                                                                     Copy net
                                                                                                                                      Vehicle 2
         Subtract line 13e from line 13d. if this amount is less than $0, enter $0..                                                  expense
                                                                                                                          32.00       here=> $                32.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
        Transportation expense allowance regardless of whether you use public transportation.                                                                  0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
                                                                                                                                                               0.00
        not claim more than the IRS Local Standard for Public Transportation.




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                         page 4
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 Debtor 1     Karla L. Galvan
 Debtors      Jose M. Galvan                                                                               Case number (If known")




    Other Necessary Expenses                In addition.to the expense deducttppis tisteiiaboye, you are allowed your month jy, expenses for •
                                            the following IRS categories, 'p,--. '    .' * :,.' :'•/;, '" ..".". : ' . "-",;'.: >V •'• '" '."" .. " .' '

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                                         964.14

    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                     456.67

    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
        insurance on your dependents, fora non-filing spouse's life insurance, or for any form of life insurance other than
        term.                                                                                                                                                        8.33

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.                                0.00

   20. Education: The total monthly amount that you pay for education that is either required:
       • as a condition for your job, or
            • for your physically or mentally challenged dependent child if no public education is available for similar services.                                  0.00

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                                     0.00

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                                   0.00

   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                                 +$                0.00



   24, Add all of the expenses allowed under the IRS expense allowances.                                                                           $        6,552.11
       Add lines 6 through 23.




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                              page 5
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 Debtor 1     Karla L. Galvan
 Debtor2      Jose M. Galvan                                                                                Case number (If known]



   Additional Expense Deductions • These are additional deductions allowed, by* ttfe Means Test
                                                 Note; Do not Include any expense allowances 'listed in lines 6-24,
    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                                 $      1.714.19
            Disability insurance                                             $            0.00
            Health savings account                                           $            0.00


            Total                                                            $        1,714.19         Copy total here=>                                1,714.19


            Do you actually spend this total amount?

            D       No. How much do you actually spend?
            • Yes
   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                                                  0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                                           0.00
   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs.

            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                      0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.

            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.

            * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.                             0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.

            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.

            You must show that the additional amount claimed is reasonable and necessary.                                                                    0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                                       +$            0.00



   32. Add all of the additional expense deductions.                                                                                            $    1,714.19
       Add lines 25 through 31.




Official Form 122A-2                                               Chapter 7 Means Test Calculation                                                        page 6
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 Debtor 1      Karla L-
                      Galvan
 Debtor 2      Jose M. Gal van                                                                                   Case number (If known)


                                                          . ; .      ,   - x •-         :\'   " .       <                 -.        - •;< /       ,      •;,--'
    Deductions for Debt Payment                                                   •-                   , •                      ,               •-.    <,
    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured
        creditor in the 60 months after you file for bankruptcy. Then divide by 60.
               Mortgages on your home:                                                                                                                         Average monthly •
                                                                                                                                                               payment
    33a.       Copy line 9b here                                                                                                                      =>     $         1,631.31
               Loans on your first two vehicles:
    33b.       Copy line 13b here                                                                                     .                               =>       $          515.03
    33c.       Copy line 1 3e here                                                                                                                    =>     $            476.00
    33d.       List other secured debts:
    Name of each credKorforothersecured debt                      I Identify prdperty that secures the debt- - ™. '         •'• j    : Does'payment
                                                                  |        " •' \,»J:< ' "' . - ' c: '•,""-..'••.'            '!     i Include taxes or
                                                                  E " • ,, ' ". •'"','•'1," '"          ",* ; ; '-". " :     -1     [Insurance?-'
                                                          : ,      !• . :1       -       . ' - •:.....- - - -        • ..   • .|     t .
                                                                                                                                       D No
             -NONE-                                                                                                                    D      Yes            $

                                                                                                                                       n NO
                                                                                                                                       D      Yes            $

                                                                                                                                       n NO
                                                                                                                                       D      Yes            +$

                                                                                                                                                        Copy
    33e. Total average monthly payment. Add lines 33a through 33d                                                    $                2,622.34         h^re=>      $    2,622.34

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
           D No. Go to line 35.
           • Yes. State any amount that you must pay to a creditor, in addition to the payments
                       listed in line 33, to keep possession of your property (called the cure amount).
                       Next, divide by 60 and fill in the information below.
             - -•   -•;•;•• • •••

   E        e of the creditor                              i Identify property that secures 'ihVijebt t," -r'-'H«,-,| |<"Totalcilre '•-- \ Monthly cure *
                                                           [-         • •"      - - • . : " s '-' s;; ^^'-'"^"fft;'"] ["amount -; '
                                                                1497 Jefferson Avenue Escondido, CA
                                                                                                                                                   '"amount,^ 1 "-


                                                                92027 San Diego County
     Bank Of America, N.a.                                      three bed one bath                                          $         1,800.00 ^.60= $                     30.00
                                                                1497 Jefferson Avenue Escondido, CA
                                                                92027 San Diego County
     Chase Mtg                                                  three bed one bath                                          $         2,400.00        +60=     $          40.00
                                                                                                                            $                         * 60 = +$


                                                                                                                                                        Copy
                                                                                                             Total $                       70.00       h°ere=>     $           70-°°




Official Form 122A-2                                                     Chapter? Means Test Calculation                                                                       page 7
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 Debtor1     Karla L. Gal van
 Debtor 2    Jose M. Galvan                                                                        Case number (if known)

    35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
        • No. Go to line 36.
        D Yes. Fill in the total amount of all of these priority claims. Do not include current or
               ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                  _                  $                    o.OO   •*• 60 = $           0.00




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                   page 8
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 Debtor 1     Karla L. Galvan
 Debtor 2     Jose M. Galvan                                                                               Case number (if known)


    36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

         D No. Go to line 37.
         • Yes. Fill in the following information.
                     Projected monthly plan payment if you were filing under Chapter 13                                       260.29
                     Current multiplier for your district as stated on the list issued by the
                     Administrative Office of the United States Courts (for districts in Alabama
                     and North Carolina) or by the Executive Office for United States Trustees
                     (for all other districts).

                     To find a list of district multipliers that includes your district, go online using
                     the link specified in the separate instructions for this form. This list may also
                     be available at the bankruptcy clerk's office.
                                                                                                                                           Copy total
                     Average monthly administrative expense if you were filing under Chapter 13                                            here=> $                      22.12


    37. Add all of the deductions for debt payment                                                                                                           $    2,714.46
        Add lines 33e through 36.

    Total Deductions from Income
    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                      $               6,552.11
            Copy line 32, All of the additional expense deductions                  $.              1.714.19
            Copy line 37, All of the deductions for debt payment                   +$            2,714.46


                                                               Total deductions                 10,980.76           Copy total here..        ..=>        $         10,980.76



^^^^H           Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
            39a. Copy line 4, adjusted current monthly income                                   10,974.53
            39b. Copy line 38,Total deductions                                                  10,980.76

            39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                  Copy
                 Subtract line 39b from line 39a                                                       -6.23        here=>$                              -6.23

            For the next 60 months (5 years)                                                                                         X60

                                                                                                                                    Copy
            39d. Total. Multiply line 39c by 60                                         39d.    $                 -373.80           here=>           $             -373.80

   40. Find out whether there is a presumption of abuse. Check the box that applies:

        •     The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

        D The Iine39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
          Part 4 if you claim special circumstances. Go to Part 5.
        D The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.
        'Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.




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 Debtor i    Karla L. Galvan
 Debtor2     Jose M. Galvan                                                                         Case number (if known)




    41.      41 a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                   A Summary of Your Assets and Liabilities and Certain Statistical Information
                   Schedules (Official Form 106Sum), you may refer to line 3b on that form.                $
                                                                                                                      .25

                                                                                                                                 Copy
              41 b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(l)                                 here=>
                     Multiply line 41 a by 0.25..

    42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
        25% of your unsecured, nonpriority debt.
        Check the box that applies:

          D Line 39d is less than line 41 b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
            Go to Part 5.
          D Line 39d is equal to or more than line 41 b. On the top of page 1 of this form, check box 2, There is a
            presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


               Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
     reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


      •     No. Go to Part 5.

     D Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
            item. You may include expenses you listed in line 25.

                You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                adjustments.


                /Give a detailed .explanation of the special circumstances                         ; Average monthly expense
                                                                                                   i'or income adjustment

                                                                                                       $

                                                                                                       $

                                                                                                       $



               Sign Below
             By signing here, I declare under.gejfrlty of perjury that the information on this statement and in any attachments is true and correct.

             X Isl Karla L. Galvan     / I                                            X /s/JoseM.
               Karla L. Galvan      ^s                                                  Jose M. i
               Signature of Debtat^r                                                    Signature of Deb*b"f 2
          Date August 20, 2019                                                     Date August 20, 2019
                MM/DD /YYYY                                                              MM/DD /YYYY




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 Fill in this information to identify your case:

 Debtor 1                 Karla L. Galvan
                          First Name                       Middle Name                   Last Name
 Debtor 2                 Jose M. Galvan
 (Spouse if, filing)      First Name                       Middle Name                   Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                               D Check if this is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

               I Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

       •      Married
       D      Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

       D No
       •       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                               lived there                                                                       lived there
        1497 Jefferson Avenue                                  From-To:                                                                          C3 Same as Debtor 1
                                                                                               Same as Debtor 1
        Escondido, CA 92027                                    2004 to                                                                           From-To:
                                                               September 201 8                                                                   2004 to present


        1651 South Juniper Street, # 171                       From-To:
                                                                                                                                                    Same as Debtor 1
        Escondido, CA 92025                                    September 18,                                                                     From-To:
                                                               201 8 to Present


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       D No
       • Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1 06H).

                Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1 .

       D No
       • Yes. Fill in the details.

                                                                                                                  "Debtor 2   ""•   '""
                                                  Sources of income                Gross income                   Sources of income              Gross income
                                                  Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                   exclusions)                                                   and exclusions)
Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page-l
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 Debtor 1     Karla L. Galvan
 Debtor 2     Jose M. Galvan                                                                              Case number (ifknown)

                                                                                                                 ; Debtor 2
                                                  Sources of income                Gross income                   Sources of income           Gross income
                                                  Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                   exclusions)                                                and exclusions)
From January 1 of current year until              • Wages, commissions,                        $26,520.00         D Wages, commissions,                     $0.00
the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                  D Operating a business                                          d Operating a business

 For last calendar year:                          • Wages, commissions,                        $79,344.00         D Wages, commissions,                     $0.00
 (January 1 to December 31, 2018 )                bonuses, tips                                                   bonuses, tips

                                                  D Operating a business                                          D Operating a business

For the calendar year before that:                • Wages, commissions,                        $70,469.00         D Wages, commissions,                     $0.00
(January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                  D Operating a business                                          D Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      • No
      D Yes. Fill in the details.


                                                  Sources of income            • Gross income from                Sources of income           Gross income
                                                  Describe below.              ' I each source                    Describe below.             (before deductions
                                                                               | ! (before deductions and I                                   and exclusions)
                                                                               , i exclusions)         ... .

ISTTItlB List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
     D No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as "incurred by an
                individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                     d No.      Go to line 7.
                     d Yes      List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

      • Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    Ll No.        Go to line 7.
                    • Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                  include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                  attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment            Total amount          Amount you       Was this payment for.
                                                                                                    paid:           still owe




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2

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 Debtor 1     Karla L. Galvan
 Debtor 2     Jose M. Galvan                                                                               Case number (if known)

       Creditor's Name and Address                              Dates of payment            Total amount          Amount you        Was this payment for...
                                                                                                    paid            still owe
       Chase Mortgage                                          June 24, 2019                   $1,901.37                 $0.00      • Mortgage
       PO Box 182613                                                                                                                Dear
       Columbus, OH 43218
                                                                                                                                    D Credit Card
                                                                                                                                    D Loan Repayment
                                                                                                                                    D Suppliers or vendors
                                                                                                                                    D Other

       Shellpoint Mortgage Servicing                           July 30, 2019                   $1,901.37                 $0.00      • Mortgage
       P.O. Box 51850                                                                                                               DCar
       Livonia, Ml 48151-5850                                                                                                       D Credit Card
                                                                                                                                    D Loan Repayment
                                                                                                                                    D Suppliers or vendors
                                                                                                                                    D Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

      • No
      D Yes. List all payments to an insider.
      Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                    paid            still owe
8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

      • No
      D Yes. List all payments to an insider
      Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                    paid            .still owe;     Include creditor's name

             Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

      • No
      D Yes. Fill in the details.
      Case title                                               Nature of the case         : Court or agency                         Status of the case
      Case number
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      •   No. Go to line 11.
      D Yes. Fill in the information below.
       Creditor Name and Address                               Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                               Explain what happened




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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 Debtor 1     Karla L. Galvan
 Debtor 2     Jose M. Galvan                                                                               Case number (ifknown}


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
      • No
      D Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                        Date action was               Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

      • No
      D Yes

            | List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      • No
      D Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                   Value
       per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
      • No
      D Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total               Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                        contributed
       Charity's Name
     ; Address (Number, Street, City, State and ZIP Code)

miCTI I I'll ( i'i lain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      • No
      D Yes. Fill in the details.
       Describe the property you lost and                  Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                               Include the amount that insurance has paid. List pending          loss                             lost
                                                           insurance claims on line 33 of Schedule A/B: Property,

             List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      D No
      • Yes. Fill in the details.
      Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
      Address                                                       transferred                                              or transfer was             payment
      Email or website address                                                                                               made
      Person Who Made the Payment, if Not You
      Huston McCaffrey, LLP                                         Attorney Fees                                            March 22,                  $1,000.00
      1650 Hotel Circle North, Suite # 201                                                                                   2019
      San Diego, CA92108
      www.hustonmccaffrey.com




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4

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Debtor 1        Karla L. Galvan
Debtor 2        Jose M. Galvan                                                                                  Case    number (ifknown)

         Person Who Was Paid                                                Description and value of any property                  Date payment                          Amount of
         Address                                                            transferred                                            or transfer was                        payment
         Email or website address                                                                                                  made
         Person Who Made the Payment, if Not You                                                                               ;
         CC Advising, Inc.                                                  Cost to take the mandatory first class                                                           $20.00
         703 Washington Avenue                                              on credit counseling prior to filing.
         Suite # 200
         Bay City, Ml 48708
         www.CCadvising.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      • No
      D Yes. Fill in the details.
      Person Who Was Paid                                                   Description and value of any property                  Date payment                          Amount of
      Address                                                               transferred                                            or transfer was                        payment
                                                                •       :                                                .         made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
      • No
      D Yes. Fill in the details.
         Person Who Received Transfer                                       Description and value of             :   Describe any property or              Date transfer was
         Address                                                            property transferred                     payments received or debts            made
                                                                                                                     paid in exchange
     i Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.')
    • No
    D Yes. Fill in the details.
         Name of trust                                                      Description and value of the property transferred                        , ; bate Transfer was
                                                                                        •           ' ,                                              '.   .made
mHIB ! ri1 ' [ | ' ertain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
    • No
    D Yes. Fill in the details.
         Name of Financial Institution and                          Last 4 digits of               Type of account or        Date account was                     Last balance
         Address (Number, street, city, state and ZIP               account number                 instrument                 closed, sold,                   before closing or
         code)                                                                                                               moved, or                                 transfer
                                                                                                                             transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

      • No
      D Yes. Fill in the details.
      Name of Financial Institution                                         Who else had access to it?          Describe the contents                          Do you still
         Address (Number, Street, Cfty, State and ZIP Code)                 Address (Number, Street, City,                                                      have it?
     :          -.                      .       .       .....       .       state and zip. Code)                                                      ,. ,j ;-. :




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 Debtor 2     Jose M. Galvan                                                                                          Case number (ifknown)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      • No
      D Yes. Fill in the details.
      Nameof Storage Facility                                             Who else has or had access                  Describe the contents                     Do you still
       Address (Number, Street, City, State and ZIP Code)                 to it?                                                                           have it?
                                                                          Address (Number, Street, City,                                                \e and ZIP Code)                :;   •.


ESEM Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

      • No
      D Yes. Fill in the details.
      Owner's Name                                                       Where is the property?                       Describe the property                                 Value
       Address (Number, Street, City, State and ZIP Code)                  (Number, Street, City, State and ZIP
                                                                         : Code) ._                         ; :   .

             Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

•    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
•    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
•    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      • No
      D Yes. Fill in the details.
      Name of site                                                        Governmental unit                             ', Environmental law, if you            Date of notice
      Address (Number, Street, City, State and ZIP Code)                 Address (Number, Street, City, State and       ', know it
                                                       ...           '   ZIPCpde)                               ...;     :                              :   .

25. Have you notified any governmental unit of any release of hazardous material?

     • No
     D Yes. Fill in the details.
     :Nameofsite                                                          Governmental unit                              Environmental law, if you              Date of notice
      Address (Number, Street, City, State and ZIP Code)                 Address (Number, Street, City, State and        know it
                                                                         ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      • No
      D Yes. Fill in the details.
      Case Title                                                          Court or agency                             Nature of the case                    Status of the
      Case Number                                                         Name                                                                              case
                                                                          Address (Number, Street, City,
                                                                          State and Zip Code)

            I Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            D A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            D A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 6

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            D A partner in a partnership

            • An officer, director, or managing executive of a corporation
            D An owner of at least 5% of the voting or equity securities of a corporation
      D      No. None of the above applies. Go to Part 12.
      B     Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Glavan Hardwood Flooring, Inc.                            Hardwood Floor Installation                     EIN:      XX-XXXXXXX
       1497 Jefferson Avenue
       Escondido, CA 92027                                       Rita L. Kettl, CPA                              From-To 2012 to Present
                                                                 326 W. 3rd Avenue
                                                                 Escondido, CA 92025

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

      • No
      D Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

            | Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519,arg3571.

                                                                        fe7 Jose M.
Karla L. Galvan                                                         Jose M. Galvan
Signature of Debt                                                       Signature of Debtor 2

Date      August 20, 2019                                                Date     August 20, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
• No
DYes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
• No
D Yes. Name of Person                    . Attach the Bankruptcy Petition Preparefs Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7

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Revised: 1/24/13
Name, Address, Telephone No. & I.D. No.
Shawn Huston
1650 Hotel Circle North, Suite #210
San Diego, CA 92108

 235944 CA

                    UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                   325 West "F" Street, San Diego, California 92101-6991


la Re
Karla L. Galvan                                                                       BANKRUPTCY NO.
Jose M. Galvan

Tax I.D. / S.S. #: xxx-xx-7154/xxx-xx-0323
                                                                     Debtor.


                                          UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
                                  RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                                AND THEIR ATTORNEY
In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy process,
the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or responsibilities
under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.
                                                                      I.
                                                Services Included in the Initial Fee Charged
The following are services that an attorney must provide as part of the initial fee charged for representation in a
Chapter 7 case:
1.          Meet with the debtor to review the debtor's assets, liabilities, income and expenses.
2.          Analyze the debtor's financial situation, and render advice to the debtor in determining whether to file a
            petition in bankruptcy.
3.          Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the debtor
            regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the debtor's questions.
4.          Advise the debtor of the requirement to attend the Section 341 (a) Meeting of Creditors, and instruct the
            debtor as to the date, time and place of the meeting.
5.          Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
            vehicles securing loans or leases.



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6.          Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of Financial
            Affairs, and any necessary amendments to Schedule C.
7.          Provide documents pursuant to the Trustee Guidelines and any other information requested by the
            Chapter 7 Trustee or the Office of the United State Trustee.
8.          Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to
            the debtor.
9.          Appear and represent the debtor at the Section 341 (a) Meeting of Creditors, and any continued meeting,
            except as further set out in Section II.
10.         File the Certificate of Debtor Education if completed by the debtor and provided to the attorney before
            the case is closed.
11.         Attorney shall have a continuing obligation to assist the debtor by returning telephone calls, answering
            questions and reviewing and sending correspondence.
12.         Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in Schedule C.

                                                                        n.
                                    Services Included as Part of Chapter 7 Representation,
                                                 Subject to an Additional Fee
The following are services, included as part of the representation of the debtor, but for which the attorney may
charge additional fees.
1.          Representation at any continued meeting of creditors due to client's failure to appear or failure to
            provide required documents or acceptable identification;
2.          Amendments, except that no fee shall be charged for any amendment to Schedule C that may be
            required as a result of attorney error;
3.          Opposing Motions for Relief from Stay;
4.          Reaffirmation Agreements and hearings on Reaffirmation Agreements;
5.          Redemption Motions and hearings on Redemption Motions;
6.          Preparing, filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
7.          Representation in a Motion to Dismiss or Convert debtor's case;
8.          Motions to Reinstate or Extend the Automatic Stay;
9.         Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
           administration issues.




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                                                                        in.
                  Additional Services Not Included in the Initial Fee Which Will Require a
                                          Separate Fee Agreement
The following services are not included as part of the representation in a Chapter 7 case, unless the attorney and
debtor negotiate representation in these post-filing matters at mutually agreed upon terms in advance of any
obligation of the attorney to render services. Unless a new fee agreement is negotiated between debtor and
attorney, attorney will not be required to represent the debtor in these matters:
1.          Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to determine
            Dischargeability of D ebt;
2.          Defense of a Complaint objecting to discharge;
3.          Objections to Claim of Exemption, except where an objection arises due to an error on Schedule C;
4.          Sheriff levy releases;
5.          Section 522(f) Lien Avoidance Motions;
6.          Opposing a request for, or appearing at a 2004 examination;
7.          All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
            Property;
8.          Motions or other proceedings to enforce the automatic stay or discharge injunction;
9.          Filing or responding to an appeal;
10.         An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).

                                                                    IV.
                                                   Duties and Responsibilities of the Debtor
As the debtor filing for a Chapter 7 bankruptcy, you must:
1.          Fully disclose everything you own, lease, or otherwise believe you have a right or interest in prior to
            filing the case;
2.          List everyone to whom you owe money, including your friends, relatives or someone you want to repay
            after the bankruptcy is filed;
3.          Provide accurate and complete financial information;
4.          Provide all requested information and documentation in a timely manner, in accordance with the
            Chapter 7 Trustee Guidelines;
5.          Cooperate and communicate with your attorney;
6.          Discuss the objectives of the case with your attorney before you file;
                                                                         3

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7.          Keep the attorney updated with any changes in contact information, including email address;
8.         Keep the attorney updated on any and all collection activities by any creditor, including lawsuits,
           judgments, garnishments, levies and executions on debtor's property;
9.          Keep the attorney updated on any changes in the household income and expenses;
10.         Timely file all statutorily required tax returns;
11.         Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;
12.         Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;
13.         Bring proof of social security number and government issued photo identification to the Section 341 (a)
            Meeting of Creditors;
14.         Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your case;
15.         Pay all required fees prior to the filing of the case;
16.         Promptly pay all required fees in the event post filing fees are incurred;
17.         Debtors must not direct, compel or demand their attorney to take a legal position or oppose a motion in
            violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule that is not well
            grounded in fact or law.
Dated: August 20, 2019                                                  Isl Karla L. Galvan
                                                                        Karla L. Galvan
                                                                        Debtor

Dated: August 20, 2019                                                  Isl Jose M. Galvai
                                                                        Jose M. Galvan
                                                                        Debtor

Dated: August 20, 2019                                                  Isl Shawn Huston
                                                                        Shawn Huston
                                                                        Attorney for Debton




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter?:         Liquidation
This notice is for you if:
                                                                                                  $245   filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as "incurred by an individual                                                    $335 total fee
        primarily for a personal, family, or
        household purpose."                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 -Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)                                                       pagel

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A-1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A-2).
                                                                                                       $1,167   filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $550    administrative fee
Calculation (Official Form 122A-2). The calculations on                                               $1,717    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay                                    but is also available to individuals. The provisions of
unsecured creditors. If                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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         Read These Imoortant Warninas

              Because bankruptcy can have serious long-term financial and legal consequences, including loss of
              your property, you should hire an attorney and carefully consider all of your options before you file.
              Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
              and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
              properly and protect you, your family, your home, and your possessions.

              Although the law allows you to represent yourself in bankruptcy court, you should understand that
              many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
              or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
              following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                    $200       filing fee                                                 years or 5 years, depending on your income and other
                     $75       administrative fee                                         factors.
                    $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                       debts for fraud or defalcation while acting in a
                    $75        administrative fee                                               fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 52:1(a)(1) of the Bankruptcy Code requires that                                  bankruptcy petition, the bankruptcy court generally will
 you promptly tile detailed information about your         .                              mail you and your spouse one copy of each notice,
 creditors* assets, liabilities, income, expenses and "',                                 unless you file a statement with the court asking that
 general .financial condition. The court may dismiss your                                 each spouse receive separate copies.
 bankruptcy case if .you do not file this Information within
 the deadlines 'set by the Bankruptcy Code, the          .                                Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court. ,                                    credit counseling agencies

For more information .about the documents and                                             The law generally requires that you receive a credit
their deadlines, go to:,                                                                  counseling briefing from an approved credit counseling
http://www.uscourts.gov/bkforms/bankruptcy form                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
s.htmlffprocedure.       . ::                                                             case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://iustice.gov/ust/eo/hapcpa/ccde/cc approved.html
        other offices and employees of the U.S.
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
The bankruptcy court sends notices to the mailing                                         AndDebtCounselors.aspx.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342{b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                  Southern District of California
              Karla L. Galvan
 In re        Jose M. Galvan                                                                                  Case No.
                                                                              Debtor(s)                       Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                    1,000.00
              Prior to the filing of this statement I have received                                       $                    1,000.00
              Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:
              •    Debtor           D     Other (specify):

3.     The source of compensation to be paid to me is:
              •    Debtor           D     Other (specify):

4.       •    I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         d I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 DSC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                        CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment tqtfnp for representati^'jjff th^debto^s) in
this bankruptcy proceeding.

     August 20, 2019                                                          Isl Shawn Huston
     Date                                                                     Shawn Huston
                                                                              Signature of Attorney
                                                                              Law Firm Of Howard Williams
                                                                              1650 Hotel Circle North, Suite #210
                                                                              San Diego, CA 921

                                                                              Name of law firm




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CSD 1008 (Page 2)                 [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7,11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD     1008
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            Karla L. Ga/van
            Jose M. Galvan

                                                                                                   [BANKRUPTCY NO.


                                                                                 Debtor.
                                                            VERIFICATION OF^EDIT^
                 [ (check and complete one):


        I New petition filed. Creditor diskette required.
                                                                                                                    TOTAL NO. OF CREDITORS: 13
        I    Conversion filed on           _. See instructions on reverse side.
                 D Former Chapter 13 converting. Creditor diskette required.
                D Post-petition creditors added. Scannable matrix required.                                         TOTAL NO. OF CREDITORS:
                D There are no post-petition creditors. No matrix required.

    I       Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
            Equity Security Holders. See instructions on reverse side.
                           D Names and addresses are being ADDED.
                           D Names and addresses are being DELETED.
                          D Names and addresses are being CORRECTED.

\RT II (check one):

I           The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

]  The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected bythc filing of the conversion of this case and that
   the filing of a matrix is not required.
Date: August 20.2019                                     /s/Karla L. Galvan
                                                         Karla L. Galvan
                                                         Signature of Debtor

Date: _August20L2019^                                               /s/ Jose M. Galva
                                                                    Jose M. Galvan Sf
                                                                    Signature of Debtor




                                                         REFER TO INSTRUCTIONS ON REVERSE SIDE

CSD 1008                                                                                                                                     Best Case Bankruptcy
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                      Aes/efs
                      Po Box 61047
                      Harrisburg, PA 17106


                      Alaska Usa Feu
                      4000 Credit Union Dr Ste
                      Anchorage, AK 99503


                      Bank Of America
                      Po Box 982238
                      El Paso, TX 79998


                      Bank Of America, N.a.
                      4909 Savarese Cir
                      Tampa, FL 33634


                      California Coast Cu
                      Po Box 502080
                      San Diego, CA 92150


                      Capl/helzb
                      Po Box 30253
                      Salt Lake City, UT 84130


                     Chase Card
                     P.O. Box 15298
                     Wilmington, DE 19850


                     Chase Mtg
                     700 Kansas Lane Me La4-6
                     Monroe, LA 71203


                     Gerardo Serrano
                     2130 S. Santa Fe Avenue
                     # 21
                     Vista, CA 92084
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                      Portfolio Recov Assoc
                      120 Corporate Blvd. Ste 1
                      Norfolk, VA 23502


                      Shellpoint Mortgage Servicing
                      P.O. Box 51850
                      Livonia, MI 48151-5850


                      Welk Resort Group
                      8860 Lawrence Welk Dr
                      Escondido, CA 92026


                      Whittington Property Managment
                      9633 Grossmont Summit Drive
                      La Mesa, CA 91941
